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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION


SHAUN GAINES; JAMES MORRISON;
KEVIN EGGLESTON; NOELLE WADE;                                       Case No. 6:23-cv-01538-MK
and SAMUEL CASTNER,
                                                                             FINDINGS AND
                      Plaintiffs,                                        RECOMMENDATION

       vs.

CITY OF EUGENE,

                  Defendant.
_________________________________________

KASUBHAI, United States Magistrate Judge:

       Plaintiffs Shaun Gaines, James Morrison, Kevin Eggleston, Noelle Wade and Samuel

Castner (collectively, “Plaintiffs”) bring this action challenging the manner in which Defendant

City of Eugene applies its Park and Open Space Rules (“Park Rules”), specifically how it issues

Notices of Restriction of Use that temporarily prohibit Plaintiffs from using Defendant’s parks,

open spaces, or facilities. Plaintiffs bring claims under the First and Fourteenth Amendments to

the United States Constitution; the Americans with Disabilities Act, 42 U.S.C. § 12132; Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794; and Article I, § 20, of the Oregon

Constitution. Before the Court is Defendant’s Motion to Dismiss for Lack of Jurisdiction. ECF

No. 7. For the reasons below, Defendant’s Motion should be GRANTED in part and DENIED in




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part. Defendant’s Motion for Judicial Notice, ECF No. 8 and Plaintiffs’ Motion for Judicial

Notice, ECF No. 14, are GRANTED. 1

                                               BACKGROUND

         For the purposes of this motion to dismiss, the following facts alleged by Plaintiffs are

assumed to be true.

I.       General Factual Background

         This case involves several overlapping provisions of the City of Eugene’s Park Rules.

Defendant adopted rules that apply to City-controlled park property and facilities thereon, and to

open space, as defined by Park Rule 1.000. Def.’s Mot for Judicial Notice, Ex. 1 (“Park Rules”),

at 3. The Park Rules describe the hours of operation, set a process for obtaining permits for

private events or use of community gardens, describe permitted and prohibited activities, provide

enforcement mechanisms, and set out a local hearing and appeal process. Id. Violation of a Park

Rule is a misdemeanor, punishable by a fine not to exceed $500 or confinement in jail not to

exceed 30 days, or both. Eugene Code 2.1990(2). City police officers are empowered to enforce

the Park Rules. Park Rule 1.005(2), Eugene Code 2.660(2). If they develop probable cause to

believe that an individual has violated a Park Rule and decide to take enforcement action, the

officer may issue a citation into Municipal Court or they may arrest the suspect. Park Rule

1.005(2)(a) and Or. Rev. Stat. § 133.055(1), 133.310(1)(b).

         City police officers are also authorized to issue a Notice of Restriction of Use to an

individual who is arrested or cited for engaging in conduct in a park that violates the Park Rules,

the Eugene Code, or state or federal law. Park Rule 1.005(3)(a); Defendant’s Motion for Judicial



1
 The parties’ Motions for Judicial Notice are unopposed. The Court finds that the parties’ Motions each seek judicial
notice of “matters of public record” properly considered under Fed. R. Evid. 201(b). Mack v. S. Bay Beer Distrib., 798
F.2d 1279, 1282 (9th Cir. 1986).


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Notice, Ex. 2 (Admin. Order 58-96-17). A Notice of Restriction states an individual is prohibited

from future use of City parks, open space, or facilities (as defined by Park Rule 1.000) and their

entry therein or thereon will constitute trespassing. Defendant’s Motion for Judicial Notice, Ex. 3

(Notice of Restriction of Use Form); Park Rule 1.005(3)(a). The Notice must contain a statement

advising of the right to request a hearing and the manner for doing so. Park Rule 1.005(3)(d).

Moreover, the Park Rules explicitly prohibit issuance of a Notice of Restriction for “the

exclusion of any person lawfully exercising free speech rights or other rights protected by the

state or federal constitution[.]” Park Rule 1.005(3)(e).

        The Park Rules specify, however, that “a person engaged in such protected activity who

also commits acts that are not protected and that violate applicable provisions of law” may be

subject to a Notice of Restriction. Id. Anyone who receives a Notice of Restriction is first

entitled to an informal hearing to contest the Notice. Park Rule 1.074(1). The request for such a

hearing must be filed with the Park and Open Space Division Director within 48 hours (exclusive

of weekends), and can be communicated in person, over the phone, by email, or by mail. Park

Rule 1.074(2). Defendant automatically stays enforcement of a Notice of Restriction once a

request for a hearing is filed and while the appeal proceeds. 2 Defendant’s Motion for Judicial

Notice, Ex. 4 (Admin. Order 58-20-29). After a request for a hearing is filed, an informal hearing

must be held within 7 days and a decision issued not more than 5 days after that. Park Rules

1.074(3) and (5).

        At the hearing, the Director is to consider testimony from City personnel involved in the

incident that resulted in the Notice of Restriction, testimony from the person requesting the



2
 Admin Order 58-20-29 was a temporary order. However, the Court takes judicial notice of the fact that Defendant
permanently adopted the stay provision on May 1, 2024. Eugene Park Rules 2024 (available at https://www.eugene-
or.gov/DocumentCenter/View/54906/2024-Park-Rules?bidId=).


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hearing, and testimony from any other witnesses to the incident. Park Rule 1.074(4). The

Director may affirm, modify or cancel the Notice of Restriction and must deliver or mail the

decision to the person who requested the hearing. Park Rule. 1.074(4) and (5). At this point,

enforcement of the Notice of Restriction is still stayed. It will continue to be stayed for at least

14 more days to afford the individual time to appeal the Notice of Restriction to Eugene

Municipal Court. Park Rule 1.074(2)(b) and (6). If an appeal is filed, enforcement of the Notice

of Restriction remains stayed until a Municipal Judge reviews the matter and issues a decision.

Park Rule 1.074(2)(c). The procedure in Municipal Court is more formal and governed by the

general laws of the state applicable to justices of the peace and justices’ courts. Eugene Code

2.785. Those proceedings are the same as in Circuit Court. Or. Rev. Stat. § 52.020. The standard

of review applied is a preponderance of evidence, just as it is for violations. Cook v. Michael,

214 Or. 513, 527 (1958), Or. Rev. Stat. § 153.076(2). The Municipal Court may affirm, modify

or reverse the Notice of Restriction based upon the parties’ arguments and evidence. Park Rule

1.074(6). Once the Municipal Court issues a decision, and if a Notice of Restriction is affirmed

or modified, the automatic stay is lifted. Park Rule 1.074(2)(c). An individual subject to a Notice

of Restriction can appeal further as a writ of review under Or. Rev. Stat. § 34.010 et seq. or

directly to circuit court as part of any violation proceeding and then to the Oregon Court of

Appeals. City of Eugene v. Hejazi, 296 Or. App. 204, 205-07 (2019).

       The facts of this case arise during the COVID-19 pandemic. On April 2, 2021, Defendant

formalized a pandemic camping policy with Admin. Order 58-21-17. Defendant’s Motion for

Judicial Notice, Ex. 8. In relevant part, that order described the current status of pandemic

camping at Eugene’s Washington-Jefferson Park and provided rules for that camp going

forward. Id. Those rules included a prohibition on the erection of any additional tents after April




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2, 2021, a requirement to maintain 12-foot drive aisles between tents, a requirement to keep

camps clean and free from garbage and debris, and a prohibition on setting any fires. Id. Failure

to leave the property at the direction of authorized City personnel for violation of that

Administrative Order constituted trespassing. Id. Those rules were re-approved several times

during the pandemic.

       On February 28, 2022, based on the declining COVID-19 case rates and hospitalizations,

Oregon’s Governor announced that the Oregon Health Authority rules requiring masks in indoor

public places would be lifted. Defendant’s Motion for Judicial Notice, Ex. 15 (Admin. Order 58-

22-16), at 3. By then, Defendant was operating a number of sites where unhoused individuals

were permitted to sleep and began offering transportation and assistance in relocating the

individuals camping at Washington-Jefferson Park. Id. at 2-3. On March 16, 2022, Defendant

repealed the prior administrative order that permitted camping in Washington-Jefferson Park and

closed the park for rehabilitation. Id. at 3. On March 17, 2022, the Oregon Governor terminated

the COVID-19 State of Emergency. Defendant’s Motion for Judicial Notice, Ex. 16 (Executive

Order 2022-03). On June 7, 2023, Defendant reopened the majority of the Park to the public and

it remains open, subject to the Park Rules applicable to all City Parks. Defendant’s Motion for

Judicial Notice, Ex. 17 (Admin. Order 58-23-26). On July 6, 2023, Park Rule 1.010(2) was

amended to eliminate “sleeping bags” from the list of open-hour prohibitions. Defendant’s

Motion for Judicial Notice, Exhibit 18 (Admin Order 58-23-28).

II.    Factual Allegations Specific to Plaintiffs

       Plaintiffs are a group of Eugene residents who are either currently unhoused, or who were

recently unhoused and have alleged facts to suggest that their housing is only temporary.




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Plaintiffs allege receiving Notices of Restriction for violations of Eugene’s Park Rules that were

enforced against them because of their unhoused status.

       For example, Plaintiff Noelle Wade alleges she was residing in Washington-Jefferson

Park in May 2021. Compl., ¶ 44. An officer cited Ms. Wade for violating Park Rule 1.003

(“Hours Parks and Open Space Areas are Closed”) and issued a Notice of Restriction for “[i]n

park after hours, camping, dog off leash, trash.” Id. The Notice of Restriction specified that it

applied for 30 days. Id. Ms. Wade continues to experience homelessness and to live in and

frequent City’s parks and open spaces. Compl., ¶ 45.

       Plaintiff Kevin Eggleston began residing in Washington-Jefferson Park in December

2020. Complaint, ¶ 36. When Defendant established rules sanctioning the camp in Washington-

Jefferson Park, Mr. Eggleston believed he would have difficulty complying with the rules and so,

in late August 2021, he asked for more time to comply. Compl., ¶ 38. A month later, on

September 29, 2021, police officers told Mr. Eggleston that he had failed to comply with park

rules and that he had to leave. Compl., ¶ 39. Two service providers who happened to be in the

vicinity explained to the police and parks staff that Mr. Eggleston had disabilities and needed

accommodation, but the requests were allegedly ignored. Id. Mr. Eggleston was cited with a

misdemeanor for violating Park Rule 1.003 (“Hours Parks and Open Space Areas are Closed”).

He also received a Notice of Restriction for Park Rule 1.003, (“Park Hours”); Park Rule 1.010(2)

(“Erecting a Structure); Park Rule 1.070 (“Littering); Park Rule 1.050 (“Off-leash Dogs”); and

Park Rule 1.025 (“Fires and Fireworks).” The Notice of Restriction applied for 30 days. Compl.,

¶ 40. Mr. Eggleston contested the 30-day Notice of Restriction, which was stayed pending the

appeal. Compl., ¶ 41. On Friday, November 5, 2021, the Eugene Municipal Court entered an

order upholding the 30-day restriction. Compl., ¶ 41. The following day an officer criminally




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trespassed Mr. Eggleston for being in the park during the term of the renewed 30-day restriction

and issued a new Notice of Restriction for 90 days. Compl., ¶ 41. Mr. Eggleston was issued

additional citations and convicted of being in the park after hours. Compl., ¶¶ 41, 42. Mr.

Eggleston currently lives in a triplex through a Veterans Affairs voucher, but that arrangement

has been in jeopardy. Compl., ¶ 43.

        On August 27, 2021, Plaintiff James Morrison was residing in a small encampment at

Skinner Butte Park. Compl., ¶ 27. There is no allegation this was a park approved for camping.

An officer told Mr. Morrison that his campsite violated the rules and that he had to leave

immediately. Compl., ¶ 27-28. Plaintiff Morrison informed the officer that he had a physical

disability and needed more time to complete the clean-up. Compl., ¶ 28. The officer refused,

provided him 10 minutes to vacate, and then cited Mr. Morrison for violating Park Rule

1.010(22), which prohibits possessing more than four bicycle parts. Id. The officer also issued a

Notice of Restriction based on alleged violations of Park Rule 1.010(2), (“Erecting a structure”);

Park Rule 1.003 (“Park Hours”); Park Rule 1.010(22) (“Possession of more than four bicycle

parts”); and Park Rule 1.070 (“Littering”). Id. Mr. Morrison’s Notice of Restriction lasted 30

days. Id. At the time of filing the Complaint, Plaintiff Morrison was living in Defendant’s only

public shelter, the Navigation Center. Compl., ¶ 32. The Navigation Center only provides

temporary housing and Plaintiff Morrison alleges not knowing how long he will be able to stay

there. Id.

        Plaintiff Samuel Castner alleges that he was living in Washington-Jefferson Park in 2021.

Compl., ¶ 46. In November 2021 his tent was in disrepair and he acquired a new tent. Id. He

erected that new tent and was later contacted by officers on November 15, 2021. Compl., ¶ 47.

An officer issued him a citation for violating Park Rule 1.003 (“Park Hours”). Compl., ¶ 48.




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Another officer issued him a Notice of Restriction for violating Park Rule 1.010(2), (“Erecting a

structure”), and Park Rule 1.003 (“Park Hours”). Id. The Park Use Restriction lasted 30 days. Id.

There is no allegation Mr. Castner sought the appeal hearing for the Notice of Restriction that

was available to him per Park Rule 1.074. At the time of filing the Complaint, Plaintiff Castner

had temporary housing through January 2024 in a residential program. Compl., ¶ 50. However,

he alleges that he will have no place to go when he leaves the residential program and that he has

no means to pay for housing. Id.

       Plaintiff Shaun Gaines set up a tent in Washington-Jefferson Park in December 2021.

Compl., ¶ 17. On January 13, 2022, officers contacted Mr. Gaines and told him that he was not

allowed to camp at the Park because of the date when he had arrived. Compl., ¶ 18. One officer

issued a citation under Park Rule 1.003, for being in the park after hours. Compl., ¶ 19. Another

officer issued a Notice of Restriction for violating Park Rules 1.003 and 1.010(2) for

“CAMPING” and “HOURS.” Id. The Notice of Restriction lasted 30 days. Id. Mr. Gaines is

currently living temporarily at a family rental home; when he leaves that temporary housing

arrangement, he has nowhere to go and alleges he would return to living on the street. Compl., ¶

22.

       Plaintiffs filed this lawsuit on October 20, 2023, alleging that Defendant’s application of

its Notice of Restriction regime under its Park Rules violated their rights under the state and

federal constitutions, the ADA, and the Rehabilitation Act. Compl. ¶ 92-176. On January 12,

2024, Defendant filed a motion to dismiss for lack of standing and failure to state a claim. Mot.

to Dismiss. On April 2, 2024, the Court heard Oral Argument on Defendants’ Motion.

III.   Claims

       Plaintiffs bring the following claims:




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       Claim (1): a Vagueness challenge to Defendant’s ordinances and rules under 42 U.S.C. §

1983 and the Fourteenth Amendment to the United States Constitution;

       Claim (2): a Procedural Due Process and Notice challenge to Defendant’s issuance of

Notices of Restriction under 42 U.S.C. § 1983 and the Fourteenth Amendment to the United

States Constitution;

       Claim (3): a Substantive Due Process challenge to Defendant’s Park and Open Space

exclusions and related criminal trespass citations under 42 U.S.C. § 1983 and the Fourteenth

Amendment to the United States Constitution;

       Claim (4): a Privileges and Immunities, Equal Protection, and Vagueness challenge to

Defendant’s treatment of individuals experiencing homelessness under Article I, section 20 of

the Oregon Constitution;

       Claim (5): an Overbreadth, and Freedoms of Speech and Association challenge to

Defendant’s exclusion of Plaintiffs from parks, open spaces, and city facilities under 42 U.S.C. §

1983 and the First Amendment to the United States Constitution;

       Claims (6) and (7): discrimination claims based on Defendant’s alleged failure to make

reasonable accommodations under the Americans With Disabilities Act, 42 U.S.C. § 12131 et

seq. and the Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 brought by Plaintiffs

Morrison and Eggleston.

                                   STANDARD OF REVIEW

I.     Motion to Dismiss for Lack of Subject Matter Jurisdiction – Fed. R. Civ. P. 12(b)(1)

       Federal courts are courts of limited jurisdiction. Gunn v. Minton, 568 U.S. 251, 256

(2013) (quotation marks omitted). As such, a court is to presume “that a cause lies outside this

limited jurisdiction, and the burden of establishing the contrary rests upon the party asserting




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jurisdiction.” Kokkonen v. Guardian Life Ins. of Am., 511 U.S. 375, 377 (1994) (citations

omitted); see also Advanced Integrative Med. Sci. Institute, PLLC v. Garland, 24 F.4th 1249,

1256 (9th Cir. 2022). An objection that a particular court lacks subject matter jurisdiction may be

raised by any party, or by the court on its own initiative, at any time. Arbaugh v. Y&H Corp., 546

U.S. 500, 506 (2006); Fed. R. Civ. P. 12(b)(1). The Court must dismiss any case over which it

lacks subject matter jurisdiction. Fed. R. Civ. P. 12(h)(3); see also Pistor v. Garcia, 791 F.3d

1104, 1111 (9th Cir. 2015) (noting that when a court lacks subject-matter jurisdiction, meaning it

lacks the statutory or constitutional power to adjudicate a case, the court must dismiss the

complaint, even sua sponte if necessary).

       A Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction may be either

“facial” or “factual.” See Edison v. U.S., 822 F.3d 510, 517 (9th Cir. 2016). A facial attack on

subject matter jurisdiction is based on the assertion that the allegations contained in the

complaint are insufficient to invoke federal jurisdiction. Id. On a facial attack, the Court must

assume the truth of factual allegations. Fed. Bureau of Investigation v. Fikre, 144 S. Ct. 771, 775

n.1 (2024) (citing Gibbs v. Buck, 307 U.S. 66, 72 (1939)).

       In contrast, in a factual attack on the plaintiffs’ assertion of jurisdiction, the moving party

“contests the truth of the plaintiff’s factual allegations, usually by introducing evidence outside

the pleadings.” NewGen, LLC v. Safe Cig, LLC, 840 F.3d 606, 614 (9th Cir. 2016); see also

Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012). Thus, “[o]nce the moving

party has converted the motion to dismiss into a factual motion by presenting affidavits or other

evidence properly brought before the court, the party opposing the motion must furnish affidavits

or other evidence necessary to satisfy its burden of establishing subject matter jurisdiction.” Safe




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Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004) (citing Savage v. Glendale

Union High Sch., 343 F.3d 1036, 1039 n.2 (9th Cir. 2003)).

       A challenge to standing is appropriately raised under Rule 12(b)(1). Maya v. Centex

Corp., 658 F.3d 1060, 1067 (9th Cir. 2011) (“[L]ack of Article III standing requires dismissal for

lack of subject matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1)”) (emphasis

omitted); Chandler v. State Farm Mut. Auto. Ins., 598 F.3d 1115, 1122 (9th Cir. 2010) (“Because

standing and ripeness pertain to federal courts’ subject matter jurisdiction, they are properly

raised in a Rule 12(b)(1) motion to dismiss.”).

II.    Motion to Dismiss for Failure to State a Claim – Fed. R. Civ. P. 12(b)(6)

       A motion to dismiss for failure to state a claim may be granted only when there is no

cognizable legal theory to support the claim or when the complaint lacks sufficient factual

allegations to state a facially plausible claim for relief. Los Angeles Lakers, Inc. v. Fed. Ins., 869

F.3d 795, 800 (9th Cir. 2017). In evaluating the sufficiency of a complaint’s factual allegations,

the court must accept as true all well-pleaded material facts alleged in the complaint and construe

them in the light most favorable to the non-moving party. Id. To be entitled to a presumption of

truth, allegations in a complaint “may not simply recite the elements of a cause of action, but

must contain sufficient allegations of underlying facts to give fair notice and to enable the

opposing party to defend itself effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).

All reasonable inferences from the factual allegations must be drawn in favor of the plaintiff. Los

Angeles Lakers, 869 F.3d at 800. The court need not, however, credit the plaintiff’s legal

conclusions that are couched as factual allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678–79

(2009). A complaint must contain sufficient factual allegations to “plausibly suggest an

entitlement to relief, such that it is not unfair to require the opposing party to be subjected to the




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expense of discovery and continued litigation.” Starr, 652 F.3d at 1216. “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The plausibility standard is not akin to a

probability requirement, but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id.

III.   Leave to Amend – Fed. R. Civ. P. 15(a)(2)

       Rule 15(a)(2) of the Federal Rules of Civil Procedure provides that the “court should

freely give leave [to amend a pleading] when justice so requires.” A district court should apply

Rule 15’s “policy of favoring amendments . . . with extreme liberality.” Price v. Kramer, 200

F.3d 1237, 1250 (9th Cir. 2000) (quotation marks omitted). “[T]he purpose of the rule is ‘to

facilitate decision on the merits, rather than on the pleadings or technicalities.’” Novak v. United

States, 795 F.3d 1012, 1020 (9th Cir. 2015) (quoting Chudacoff v. Univ. Med. Ctr., 649 F.3d

1143, 1152 (9th Cir. 2011)). A district court may, within its discretion, deny a motion to amend

“due to undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to

cure deficiencies by amendments previously allowed, undue prejudice to the opposing party by

virtue of allowance of the amendment, [and] futility of the amendment.” Zucco Partners, LLC v.

Digimarc Corp., 552 F.3d 981, 1007 (9th Cir. 2009) (alteration in original) (quoting Leadsinger,

Inc. v. BMG Music Publ’g, 512 F.3d 522, 532 (9th Cir. 2008)).

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                                           DISCUSSION

        Defendant moves to dismiss Plaintiff’s Complaint for lack of Article III standing,

mootness, and failure to state a claim. Mot. Dismiss. 19.

I.      Motion to Dismiss for Lack of Standing

        A.      Injury-In-Fact

                Defendant moves to dismiss Plaintiffs’ Complaint for lack of standing, arguing

that Plaintiffs’ alleged future harms are not sufficiently actual or imminent to serve as an injury-

in-fact under Article III.

        “Standing is a core component of the Article III case or controversy requirement.”

Barnum Timber Co. v. E.P.A., 633 F.3d 894, 897 (9th Cir. 2011). The “irreducible constitutional

minimum of standing” requires that the plaintiff has (1) suffered an injury in fact; (2) that is

fairly traceable to the challenged conduct of the defendant; and (3) that is likely to be redressed

by a favorable judicial decision. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016); Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). To establish an injury in fact, a plaintiff must

show that they “suffered an invasion of a legally protected interest that is concrete and

particularized and actual or imminent, not conjectural or hypothetical.” Spokeo, 578 U.S. at 339

(internal quotation and citation omitted). For an injury to be redressable, “it must be likely, as

opposed to merely speculative, that the injury will be redressed by a favorable decision.” Lujan,

504 U.S. at 561. When “standing is challenged on the basis of the pleadings,” courts must

“accept as true all material allegations of the complaint” and “construe the complaint in favor of

the complaining party.” Pennell v. City of San Jose, 485 U.S. 1, 7 (1988) (simplified). At this

stage, “general factual allegations of injury resulting from the defendant’s conduct may suffice,




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for on a motion to dismiss we presume that general allegations embrace those specific facts that

are necessary to support the claim.” Lujan, 504 U.S. at 561 (simplified).

       To establish an “actual or imminent” injury, Plaintiffs must show a “credible threat that a

probabilistic harm will materialize.” California Rest. Ass’n v. City of Berkeley, 89 F.4th 1094,

1100 (9th Cir. 2024) (quoting Nat. Res. Def. Council v. U.S. E.P.A., 735 F.3d 873, 878 (9th Cir.

2013)). The goal of this requirement is “to ensure that the concept of ‘actual or imminent’ harm

is not stretched beyond its purpose, which is to ensure that the alleged injury is not too

speculative for Article III purposes.” Id. (simplified). “When the plaintiff has alleged an intention

to engage in a course of conduct arguably affected with a constitutional interest, but proscribed

by a statute, and there exists a credible threat of prosecution thereunder, he should not be

required to await and undergo a criminal prosecution as the sole means of seeking relief.”

Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979) (citation and internal

quotation marks omitted).

       The Ninth Circuit’s test requires a “credible threat” of a “probabilistic harm,” even when

that harm is not certain to occur. In California Restaurant Association, for example, the Ninth

Circuit held plaintiffs “easily established standing” by alleging they would open or relocate a

restaurant in a new building in Berkeley but for the city’s ban on natural gas. 89 F.4th at 1100.

Likewise, in Natural Resources Defense Council, the imminence prong was satisfied when the

Environmental Protection Agency’s conditional registration of two pesticides would “increase[ ]

the odds of exposure” for the plaintiffs’ children. 735 F.3d at 878.

       The Ninth Circuit has clarified the scope of the imminence requirement in the

homelessness context. In Martin v. City of Boise, 920 F.3d 584, 608 (9th Cir. 2019), the Ninth

Circuit found plaintiffs who “face a credible risk of prosecution” under Boise’s outdoor camping




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ordinances had standing under Article III. Each of the six homeless plaintiffs in Martin had been

cited under Boise’s outdoor camping ordinances within two years of filing the complaint. Id. at

603. One plaintiff in Martin had not lived in Boise for five years, but the Ninth Circuit found he

nevertheless had standing to challenge Boise’s camping ordinances because he was still

homeless and visited Boise “several times a year to visit his minor son,” raising a “credible risk

of prosecution under the ordinances in the future.” Id. at 610.

               1.      Section 1983 Claims
       Here, Defendants assert Plaintiffs lack standing because their injury is not sufficiently

imminent to amount to a live “case or controversy.” The Court disagrees. Plaintiffs have alleged

a credible threat of receiving Notices of Restriction to satisfy Article III standing at the pleadings

stage on their § 1983 claims. As the Ninth Circuit has repeatedly made clear, a complaint need

only allege a credible risk that the defendant’s actions will cause the alleged harm. Id. Plaintiffs

substantiate their allegations of a future risk of harm in two ways: by showing they have suffered

from past enforcement of Eugene’s Park Rules and that they will be enforced against Plaintiffs in

the future. Plaintiffs Gaines, Eggleston, and Castner received restrictions between November

2021 and January 2022, within two years of the October 2023 filing. Compl. ¶¶ 18-19, 41, 47-48.

Plaintiff Wade received a Notice of Restriction in May, 2021 for violating Park Rules, and a

criminal trespass citation in October 2023. Compl. ¶¶ 44-45. Plaintiff Morrison was cited under

Eugene Park Rules in October, 2019 and has been told to move his campsite off public premises

by Eugene Police “on approximately eight or nine other occasions.” Compl. ¶¶ 24, 30. These

Plaintiffs also allege that they are either currently homeless or are likely to return to being

homeless. See, e.g., Compl. ¶ 45 (Plaintiff Wade: “continues to experience homelessness”); ¶50

(Plaintiff Castner, homeless after January 2024). Plaintiff Wade alleges that she “live[s] in . . .

city parks and open spaces,” and “has nowhere that she can go to avoid citation.” Compl. ¶ 45.


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Plaintiffs allege they are, or will soon be, unhoused. When homeless, Plaintiffs allege they are

forced to live in Eugene parks and open spaces because they have nowhere else to go and that

this subjects them to unavoidable violations of the Park Rules. Plaintiffs credibly allege a risk

that Eugene will enforce its Park Rules (resulting in Notices of Restriction) against them.

Plaintiffs allege at least as credible a risk of harm as the Martin Plaintiffs sufficient to satisfy the

Article III standing requirement at the pleading stage.

        Defendant relies heavily on the Supreme Court’s decision in City of Los Angeles v.

Lyons, 461 U.S. 95 (1983), but Lyons cuts against Defendant rather than for it. In Lyons, the

plaintiff sought an injunction prohibiting police from using chokeholds. 461 U.S. at 105.

Although the plaintiff’s claim arose out of the police officer’s wrongful use of a chokehold, the

risk of future injury was too speculative. The Supreme Court found the plaintiff lacked standing

to seek prospective injunctive relief unless he could show “that all police officers in Los Angeles

always choke any citizen with whom they happen to have an encounter, . . . or, (2) that the City

ordered or authorized police officers to act in such manner.” Id. at 106. In contrast, these

Plaintiffs have standing because Eugene explicitly authorizes police officers to act in the manner

Plaintiffs allege is unconstitutional. As Plaintiffs allege, Eugene’s administrative rules codify the

broad power to issue notices of exclusion that bar individuals from all city parks, open spaces,

and facilities for indeterminate periods of time for even minor infractions. Compl. ¶ 54. Nothing

in the Eugene Code or administrative rules limits the geographic area from which a person may

be banned, the duration, or the circumstances under which a ban would be appropriate. Id. ¶¶ 77-

78, 81-84, 87-88. Eugene Police Department (EPD) procedures allows officers discretion in

issuing restrictions. Id. ¶¶ 84, 88. And unlike the Lyons plaintiff, these Plaintiffs have alleged

how they will personally be “realistically threatened by police officers who acted within the




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strictures of the City’s policy.” Lyons, 461 U.S. at 106. Following Lyons, then, the Court should

find Plaintiffs have alleged sufficient facts to satisfy Article III’s injury-in-fact requirement.

                2.      ADA and Rehabilitation Act Claims

        Plaintiffs Morrison and Eggleston have not alleged sufficient facts to show they are likely

to suffer future harm under the ADA or Rehabilitation Act, however, so the Court lacks

jurisdiction to consider these claims for prospective relief. Standing is evaluated on a claim-by-

claim basis. “A plaintiff must demonstrate standing ‘for each claim he seeks to press’ and for

‘each form of relief sought.’” Oregon v. Legal Servs. Corp., 552 F.3d 965, 969 (9th Cir. 2009)

(quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)). Plaintiffs Morrison and

Eggleston allege two discrete incidents, both over two years removed from the Complaint, when

they allege their rights under the ADA and Rehabilitation Act were violated. Compl. ¶¶ 28, 38.

They do not allege facts that show this failure-to-accommodate has happened since, or that they

are otherwise likely to suffer the same statutory harm again. They have plausibly alleged a

credible threat of probabilistic harm to their First or Fourteenth Amendment rights based on their

housing status and past enforcement of Eugene’s Notice of Restriction regime. See supra. But no

similar policy or past practice establishes a likelihood Defendant will violate their ADA or

Rehabilitation Act rights. Without more, the Court should find Plaintiffs Morrison and Eggleston

lack standing to bring these claims.

        B.      Mootness

        Defendant further argues this Court lacks jurisdiction because the facts have changed

significantly on the ground and Plaintiffs’ claims are now moot. “A case becomes moot—and

therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article III—when the issues

presented are no longer ‘live’ or the parties lack a legally cognizable interest in the outcome.”




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Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (internal quotation marks omitted). “The

voluntary cessation of challenged conduct does not ordinarily render a case moot because a

dismissal for mootness would permit a resumption of the challenged conduct as soon as the case

is dismissed.” Knox v. Serv. Emps. Int’l Union, Local 1000, 567 U.S. 298, 307 (2012); see also

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (“It is

well settled that a defendant’s voluntary cessation of a challenged practice does not deprive a

federal court of its power to determine the legality of the practice.” (internal quotation marks

omitted)). But voluntary cessation can yield mootness only if a “stringent” standard is met: “A

case might become moot if subsequent events made it absolutely clear that the allegedly

wrongful behavior could not reasonably be expected to recur.” Friends of the Earth, 528 U.S. at

189. The party asserting mootness bears a “heavy burden” in meeting this standard. Id.

        The Court presumes that a government entity is acting in good faith when it changes its

policy, see Am. Cargo Transp., Inc. v. United States, 625 F.3d 1176, 1180 (9th Cir. 2010), but

when the government asserts mootness based on such a change it still must bear the heavy

burden of showing that the challenged conduct cannot reasonably be expected to resume. White

v. Lee, 227 F.3d 1214, 1243-44 (9th Cir. 2000). “[A] case is not easily mooted where the

government is otherwise unconstrained should it later desire to reenact the [offending]

provision.” Coral Constr. Co. v. King County, 941 F.2d 910, 928 (9th Cir. 1991). “Repeal or

amendment of an ordinance by a local government or agency does not necessarily deprive a

federal court of its power to determine the legality of the practice” at issue. City of Boise, 709

F.3d at 899 (internal quotation marks omitted). “Dismissal on mootness grounds is ‘justified only

if it [is] absolutely clear that the litigant no longer ha[s] any need of the judicial protection that it




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sought.’” Pizzuto v. Tewalt, 997 F.3d 893, 903 (9th Cir. 2021) (quoting Council of Ins. Agents &

Brokers v. Molasky-Arman, 522 F.3d 925, 933 (9th Cir. 2008)).

        Defendant argues this case is moot for three reasons, none of which moots Plaintiffs’

claims. Defendant first argues that the COVID-19 era camping regulations specific to Eugene’s

Washington-Jefferson Park (where most alleged notices of restriction were issued) have been

rescinded, so the threat of enforcement has dissipated. Mot. to Dismiss at 26-27. However, the

temporary, pandemic-era rules that applied to Washington-Jefferson Park have nothing to do

with the Park rules Plaintiffs challenge. Park Rules 1.005 and 1.074 and EC 4.807 are still in

effect. See Compl. ¶¶ 164, 174, 176. And as Defendant acknowledges, Notices of Restriction are

a tool that continues to exist. Mot to Dismiss at 27.

        Defendant’s contention that this case is similar to other pandemic-era cases where

changed conditions mooted a plaintiff’s claims is not persuasive. Defendant points to Wolfe v.

City of Portland, 566 F. Supp. 3d 1069, 1081 (D. Or. 2021), where the Court found the plaintiff’s

claims moot because of a decrease in protests and changes in Oregon law. Def.’s Reply at 6, ECF

No. 18. In Wolfe, changes in state law had “match[ed] and exceed[ed] the [changes plaintiffs

sought].” Wolfe v. City of Portland, Case No. 22-35530, 2023 WL 5608993, at *1 (9th Cir. Aug.

30, 2023). In contrast, here, Eugene’s policies plaintiffs challenge are still in effect. In upholding

the District Court’s mootness ruling, the Ninth Circuit also noted there had been a “precipitous

decrease in violent protests in Portland.” Id. Defendant has identified no such evaporation of the

homeless crisis in Eugene, and certainly not one established at the pleadings stage. Wolfe is not

persuasive, and if anything, clarifies why Plaintiffs’ claim remains live. The Court should not

dismiss the case on mootness grounds because of changed conditions in Washington-Jefferson

Park.




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        Second, changes in state law do not render Plaintiffs’ claims moot. Plaintiffs challenge

the application of Notices of Restriction under Eugene Code and EPD Procedures. See Compl. ¶¶

164, 174. Defendants identify two new state laws—Or. Rev. Stat. §§ 195.505 and 195.530—that

purportedly moot Plaintiffs’ case, but neither prohibits Defendant from issuing notices of

restriction or alters the process Defendant implements to enforce the Notices. One statute, Or.

Rev. Stat. § 195.505, heightens the notice requirement before law enforcement can remove

individuals from established camping sites. Or. Rev. Stat. § 195.530 requires city regulations

around sitting, lying, sleeping, and staying warm and dry to be objectively reasonable. In

response to that law, Defendant amended its prohibited camping law, EC 4.815, which is

likewise not at issue in this case. Because neither of the changes in state law affect the

allegations Plaintiffs make here, they do not moot this case.

        Finally, Defendant argues that changes in its policies automatically staying enforcement

of a Notice of Restriction during the appeal process moots Plaintiffs’ request for prospective

relief. The Complaint addresses this change, alleging that the text of the formal notices issued, as

well as police customs and practices, still violate their constitutional rights under the First and

Fourteenth Amendments. See, e.g., Compl. ¶¶ 19, 28, 40, 44, 48, 101. Defendant’s newly-

adopted stay provision affects the merits of Plaintiffs’ claims, but does not moot this case

entirely. For example, Plaintiffs challenge the vagueness of the Notices of Restriction

themselves, the sufficiency of the remainder of the process (notwithstanding a stay) that

Defendant provides pending a Notice of Restriction, and the impact on their associational rights

under the First Amendment and the Oregon Constitution. Eugene’s policy change does not moot

the broad sweep of these claims, and the Court should deny Defendant’s motion to dismiss for

lack of jurisdiction on this basis.




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II.      Motion to Dismiss for Failure to State a Claim

         A.        Vagueness 3

         Defendant moves to dismiss Plaintiffs’ facial claim that Park Rules 1.005 (enforcement)

and 1.074 (appeals) are void for vagueness. Complaint, ¶¶ 92-99, 176. “[T]he void-for-vagueness

doctrine requires that a penal statute define the criminal offense with sufficient definiteness that

ordinary people can understand what conduct is prohibited and in a manner that does not

encourage arbitrary and discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357,

(1983). “[T]he degree of vagueness that the Constitution tolerates—as well as the relative

importance of fair notice and fair enforcement—depends in part on the nature of the enactment.”

Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 498 (1982). To defeat a

facial vagueness challenge, the rule at issue must “give the person of ordinary intelligence a

reasonable opportunity to know what is prohibited . . . .” Id. (quoting Grayned v. City of

Rockford, 408 U.S. 104, 108-09 (1972)). “Vagueness may invalidate a criminal law for either of

two independent reasons. First, it may fail to provide the kind of notice that will enable ordinary

people to understand what conduct it prohibits; second, it may authorize and even encourage

arbitrary and discriminatory enforcement.” Desertrain v. City of Los Angeles, 754 F.3d 1147,

1155 (9th Cir. 2014) (quoting City of Chicago v. Morales, 527 U.S. 41, 56 (1999)). Plaintiffs

challenge Eugene’s Park Rules because they do not define the length or geographic scope of an

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3 Plaintiffs’ Complaint does not specify which Park Rules or city Code provisions are void for vagueness. See Compl.
¶¶ 92-99. Instead, the Complaint refers to “Defendant’s ordinances and rules” as a whole. Id. ¶ 94. This is reason alone
to grant the motion to dismiss Plaintiffs’ vagueness claim (for vagueness) because it does not allege which legal
provisions either fail to give adequate notice or invite arbitrary enforcement. The Court nevertheless proceeds to
consider the merits of Plaintiffs’ vagueness claim as they define it in their response brief - a facial challenge to Rules
1.005 (enforcement) and 1.074 (appeals), and how EC 4.807 (trespass II) is applied under those Rules and in
conjunction with the notice of restriction of use. Pls.’ Resp. at 24. Plaintiffs do not claim that EC 4.807 is independently
void for vagueness in their Complaint or brief, so the Court does not analyze that statute here.


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exclusion issued under the Rules, and because the Rules are allegedly so vague as to permit

arbitrary or discriminatory enforcement. Pls.’ Resp. at 25, ECF No. 13; Compl. ¶ 92-97.

       First, the Park Rules are not void for vagueness because they provide adequate notice of

the scope of an exclusion. To test whether a law gives adequate notice, the Court looks at the

“very words” of the statute in question to determine whether the statutory language is

“sufficiently precise to provide comprehensible notice” of the prohibited conduct. United States

v. Vasarajs, 908 F.2d 443, 448 (9th Cir. 1990). The ordinary person must understand what

conduct is prohibited; he must not be “left guessing about what is prohibited and what is not.”

Free Speech Coalition v. Reno, 198 F.3d 1083, 1095 (9th Cir. 1999). Plaintiffs argue the Park

Rules are vague because they do not give notice of “where they might be excluded from or for

how long that exclusion might last.” Pls.’ Resp. at 25. But the words of the Park Rules and

accompanying Notices of Restriction do just that. Concerning how long an exclusion will last,

the Park Rules Provide that “[t]he notice shall state the specific time period to which the

prohibition on future use applies.” Park Rule 1.005(3)(c)). The Notice of Restriction form itself

includes a line detailing that “[t]his restriction of use is effective beginning on _______, and

shall remain in effect until_____.” Notice of Restriction of Use Form at 1. Nothing about the

words of the statute or the accompanying form would leave a person of ordinary intelligence to

guess at the duration of the restriction. Likewise, the Notices define their geographic scope. The

Notice of Restriction form alerts recipients that they are banned from “any City of Eugene park,

open space or facility,” which is defined as “all park property and facilities thereon belonging to

the City of Eugene, including park property and facilities outside the corporate limits of the City

and County parks within the corporate limits of the city, except park property and facilities for

which other specific rules or regulations have been adopted.” Park Rule 1.000. These rules




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provide accurate, comprehensible notice of the geographic and temporal scope, and are not void

for vagueness on this basis.

       Nor are Park Rules 1.005 and 1.074 void for vagueness because they allow for arbitrary

or discriminatory enforcement. As an initial matter, Plaintiffs’ claim fails because under Ninth

Circuit law they cannot bring a facial challenge arguing arbitrary enforcement when their

conduct clearly falls within the statute’s prohibitions. United States v. Melgar-Diaz, 2 F.4th

1263, 1270 (9th Cir. 2021) (“Defendants cannot claim that an impermissibly vague statute has

resulted in arbitrary enforcement when their conduct falls within the provision’s prohibited

conduct.”) (internal quotation marks omitted). The Ninth Circuit also noted that “an as-applied

arbitrary enforcement challenge fails if ‘the conduct at issue falls within the core of the statute’s

prohibition, so that the enforcement before the court was not the result of the unfettered latitude

that law enforcement officers and factfinders might have in other, hypothetical applications of

the statute[.]’” Id. (quoting Farrell v. Burke, 449 F.3d 470, 494 (2d Cir. 2006) (Sotomayor, J.)).

The Notices of Restriction Plaintiffs challenge can only be issued for violation of the Park Rules

in the presence of authorized City personnel or law enforcement. Park Rule 1.005. Plaintiffs do

not allege that the Notices of Restrictions were issued for conduct that was not proscribed. For

example, Plaintiff Wade alleges that an officer issued her an exclusion for allegedly having a dog

off leash but she does not allege that the dog was, in fact, on leash. Compl. ¶ 44. As a result,

Plaintiffs’ arbitrary enforcement vagueness challenge is barred under Ninth Circuit law. See

Kashem v. Barr, 941 F.3d 358, 376 (9th Cir. 2019) (“In sum, we are not persuaded by plaintiffs’

contention that we may cast aside the longstanding rule that a litigant whose conduct is clearly




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prohibited by a statute cannot be the one to make a facial vagueness challenge.” 4 The Court

should grant Defendant’s motion to dismiss Plaintiffs’ void for vagueness claim.

         B.       Due Process

         In determining whether procedures adequate to satisfy due process were accorded

plaintiffs, courts use the so-called Mathews balancing test in which the cost of requiring a

particular set of procedures is weighed against the benefits from the use of those procedures. See

City of Los Angeles v. David, 538 U.S. 715 (2003). On one side of the equation are: (1) the

strength of the private interest that would be affected by the official action and (2) the “risk of an

erroneous deprivation of such interest through the procedures used, and the probable value, if

any, of additional or substitute procedural safeguards.” Id. (quoting Mathews v. Eldridge, 424

U.S. 319, 335 (1976)). On the other side is “the government’s interest, including the function

involved and the fiscal and administrative burdens that the additional or substitute procedural

requirement would entail.” Id. (quoting Mathews, 424 U.S. at 335). The Ninth Circuit has

adopted and applied the Mathews balancing test in procedural due process cases. Grimm v. City

of Portland, 971 F.3d 1060, 1063 (9th Cir. 2020). By balancing these concerns, the court can

determine whether the government has met the “fundamental requirement of due process,” which

is “the opportunity to be heard ‘at a meaningful time and in a meaningful manner.’” Id. (quoting

Mathews, 424 U.S. at 333). The parties do not dispute that Defendant has a strong interest in

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  On the merits, Plaintiffs’ arbitrary enforcement challenge also fails because the challenged Rules give law
enforcement sufficient direction about when Notices of Restriction can be issued. Unlike the vagrancy laws at issue
in cases like Papachristou v. City of Jacksonville, 405 U.S. 156, 92 (1972), where the City of Jacksonville criminalized
nebulous behaviors like “loitering,” “prowling,” and “nightwalking,” Eugene’s Rules specifically define a set of park
rules that, if violated, can be punished by issuance of a Notice of Restriction of Use. Park Rule 1.005(1)(a)(3). The
park rules are clear, and not subject to arbitrary enforcement. See, e.g., Park Rule 1.003 Hours Parks and Open Space
Areas are Closed (describing hours of park closures between “11:00 p.m. of one day and 6:00 a.m. of the succeeding
day”).


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enforcing its park rules, but disagree about the first two prongs of the Mathews test: the

significance of Plaintiffs’ protected interest and the risk of erroneous deprivation.

          Where a protected interest is at stake, the Court applies the Mathews three-part test to

determine “whether a pre-deprivation hearing is required and what specific procedures must be

employed at that hearing given the particularities of the deprivation.” Yagman v. Garcetti, 852

F.3d 859, 864 (9th Cir. 2017) (quoting Shinault v. Hawks, 782 F.3d 1053, 1057 (9th Cir. 2015)).

Usually, “the Constitution requires some kind of . . . hearing before the State deprives a person of

liberty or property.” Id. (emphasis in original). In “situations where the State feasibly can

provide a predeprivation hearing before taking property, it generally must do so regardless of the

adequacy of a postdeprivation . . . remedy to compensate for the taking.” Shinault, 782 F.3d at

1058. The predeprivation hearing, which “need not be elaborate[,] . . . serves only as an initial

check against mistaken decisions—essentially, a determination of whether there are reasonable

grounds to believe that the charges are true and support the proposed action.” Brewster v. Bd. Of

Educ. Of Lynwood Unified Sch. Dist., 149 F.3d 971, 985 (9th Cir. 1998) (internal quotation

marks omitted). “To that end, a [due process] plaintiff need only be accorded oral or written

notice of the charges against him, an explanation of the [adverse] evidence, and an opportunity to

present his side of the story.” Id. (internal quotation marks omitted). Further, where “prompt

postdeprivation review is available for correction of administrative error, [due process] generally

require[s] no more than that the predeprivation procedures used be designed to provide a

reasonably reliable basis for concluding that the facts justifying the official action are as a

responsible governmental official warrants them to be.” Mackey v. Montrym, 443 U.S. 1, 13,

(1979).

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        Here, the analysis begins under Mathews by defining the “private interest” at stake.

Defendants argue Plaintiffs have no liberty interest in being “present in the park outside times

the park property was open and accused of violating various other park rules.” Mot. to Dismiss at

35. But Defendants mischaracterize the private interest at issue. The Mathews test does not ask

about the strength of the private interest that led to the official action, but the interest that would

be “affected by the official action.” Mathews, 424 U.S. at 335; cf Grimm, 971 F.3d at 1063

(noting the liberty interest as “the uninterrupted use of one’s vehicle” as “a significant and

substantial private interest,” not the interest in, for example, parking illegally). Here, Plaintiffs

allege the Notices of Restriction cause them to lose access to Eugene’s parks, open spaces, or

facilities, which not only restricts their ability to “engag[e] in community life” Compl. ¶ 118, but

also “mak[es]their presence a crime . . . effectively prevent[ing] plaintiffs from legally residing

in the city.” Compl. ¶ 120. This interest is particularly strong for Plaintiffs because they allege

they have “no other place to be,” so would be barred from the places where they eat, sleep, and

have access to the restroom. See, e.g., Compl. ¶ 50. In short, Plaintiffs allege a strong liberty

interest threatened by Defendant’s use of Notices of Restriction.

        Under the second Mathews factor, the risk of erroneously depriving Plaintiffs of their

liberty interest in use of Eugene’s public spaces is minute. The Ninth Circuit has held municipal

processes similar to Defendant’s procedure for reviewing Notices of Restriction provide

individuals with sufficient process. See, e.g., Yagman, 852 F.3d at 863 (holding Los Angeles’

predeprivation hearing and postdeprivation judicial review process to contest parking citations

“does not violate procedural due process”). Here, Plaintiffs enjoy significant predeprivation

procedures to protect their rights similar to what the plaintiff had in Yagman. After receiving a

Notice of Restriction, Plaintiffs may request an informal hearing to contest it within 48 hours by




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petitioning in-person, mailing, emailing, or calling city officials using the contact information

included on the Notice. 5 Park Rule 1.074(1-2). This request stays enforcement of the Notice of

Restriction, after which Plaintiffs are given a hearing within 7 days (where they would hear

testimony from Eugene personnel involved in the incident and be able to present their own

testimony or testimony from other witnesses) and a decision 5 days after that. Park Rule

1.074(3), 1.074(5). Even if the restriction is upheld by the Director, the stay of the Notice of

Restriction continues for at least 14 more days to afford time to appeal to Eugene Municipal

Court. Park Rule 1.074(2)(b). If such an appeal is filed, the Notice of Restriction remains stayed

until a Municipal Court Judge reviews the matter and issues a decision. Park Rule 1.074(2)(c). In

all, the Eugene Code provides Plaintiffs the opportunity for both an administrative hearing and

judicial review before the Notices of Restriction become effective. This gives Plaintiffs

significant protection against erroneous deprivation of their rights, and they identify no

“additional procedural safeguards” Defendant ought to provide that would be more protective

than what the Code gives them already.

         Given the significant interest Defendant has in enforcing its park rules and the significant

protections against erroneous deprivation of Plaintiffs’ rights, this Court concludes that the

Notice of Restriction regime does not violate procedural due process. Under these circumstances,

the initial review serves as an adequate “initial check against mistaken decisions.” Brewster, 149

F.3d at 985. Defendant’s process provides ample opportunity for review and correction of

erroneous Notices, and the initial review by the Director “provide[s] a reasonably reliable basis

for concluding that the facts justifying the official action are as a responsible governmental


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 Plaintiffs argue the location they must file an appeal is a “physical address that is difficult to access.” Pls.’ Resp. at
23. The Court takes judicial notice of the fact that 1820 Roosevelt Boulevard is in downtown Eugene. Assuming that
downtown Eugene is difficult to access, Plaintiffs may nevertheless file an appeal by mail, e-mail, or telephone. See
Park Rule 1.74(2).


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official warrants them to be.” Mackey, 443 U.S. at 13. Thus, Plaintiffs fail to state a claim for

violation of procedural due process.

       Plaintiffs cite two cases from this District, which they believe persuasively show they

have stated a claim for a violation of their due process rights. Pls.’ Resp. at 27-28 (citing Blake v.

City of Grants Pass, No. 1:18-CV-01823-CL, 2020 WL 4209227, at *13 (D. Or. July 22, 2020;

Yeakle v. City of Portland, 322 F. Supp. 2d 1119, 1129-31 (D. Or. 2004)). Both cases dealt with

park bans, but both show how Eugene’s Notice of Restriction regime accords with, rather than

violates the Due Process Clause. In Yeakle for example, the Court highlighted deficient appeals,

lack of a pre-deprivation hearing, and the standardless basis for any park official or employee,

employee of any nonprofit corporation with which Defendant has a park management agreement,

or police officer to issue an exclusion to Portland parks. Yeakle, 322 F. Supp. 2d at 1130. Grants

Pass applied a similarly standardless regime with no predeprivation process. City of Grants Pass,

2020 WL 4209227, at *13. Here, by contrast, Eugene offers significant pre-deprivation process,

Municipal Court appellate review applying a preponderance of the evidence standard, and an

evidentiary standard police officers must follow before issuing a Notice. Park Rules 1.005(3)(a),

1.74, Eugene Code 2.785, Or. Rev. Stat. § 52.020. Eugene’s Notice of Restriction regime is far

more protective of Plaintiffs’ due process rights than the schemes in Yeakle or Grants Pass, and

these cases are not otherwise persuasive. Plaintiffs procedural due process claim should be

dismissed.

       C.      Substantive Due Process

       The “substantive” aspect of the due process clause of the Fourteenth Amendment forbids

the government from depriving a person of life, liberty, or property when the government acts

with deliberate indifference or reckless disregard for that person’s fundamental rights. Tennison




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v. City & County of S.F., 570 F.3d 1078, 1089 (9th Cir. 2009); Porter v. Osborn, 546 F.3d 1131,

1137-39 (9th Cir. 2008). A plaintiff establishes a substantive due process violation by showing

the defendant deprived him of his life, liberty, or property and engaged in “conscience shocking

behavior” in doing so. Brittain v. Hansen, 451 F.3d 982, 991 (9th Cir. 2006). An official’s

conduct may shock the conscience where the official acts with deliberate indifference or reckless

disregard for the plaintiff’s rights in situations where the official had the opportunity to

deliberate. Tennison, 570 F.3d at 1089; Porter, 546 F.3d at 1137-39.

       Plaintiffs argue they have a protected liberty interest in being “physically present in

public spaces for innocent purposes.” Pls.’ Resp. at 30. Plaintiffs cite City of Chicago v. Morales,

527 U.S. 41, 58 (1999), where the Supreme Court identified that “it is apparent that an

individual’s decision to remain in a public place of his choice is as much a part of his liberty as

the freedom of movement inside frontiers that is ‘a part of our heritage,’ or the right to move ‘to

whatsoever place one’s own inclination may direct’ identified in Blackstone’s Commentaries.”

(internal citations, quotation marks, and footnote removed). Defendant counters that other

Amendments are a better harbor for Plaintiffs’ substantive due process arguments, and that

Plaintiffs have failed to allege a specific enough harm (largely repurposing its unsuccessful

standing arguments, addressed above). Def.’s Reply at 13-14.

       Assuming Plaintiffs identified a liberty interest to remain in City parks or other public

spaces that is grounded in the Fourteenth Amendment, they fail to allege a substantive due

process violation. To state a substantive due process claim based on Defendant’s procedures,

Plaintiffs must allege the procedures are “clearly arbitrary and unreasonable, having no

substantial relation to the public health, safety, morals or general welfare.” Yagman, (internal

citation omitted). Defendant’s procedures, however, are “presumed valid, and this presumption is




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overcome only by a clear showing of arbitrariness and irrationality.” Id. This is an “exceedingly

high burden.” Id. Defendant offers significant procedures to protect against arbitrary and

unreasonably deprivation of Plaintiffs’ rights and Plaintiffs fail to allege any “conscience-

shocking” behavior by Defendant. Brittain, 451 F.3d at 991. As addressed above, Defendant’s

procedures serve the important governmental interest of enforcing its park rules that protect

safety and cleanliness of the parks. Because Plaintiffs have not alleged conduct so “egregious” as

to “amount to an abuse of power lacking any reasonable justification in the service of a

legitimate governmental objective,” Yagman, 852 F.3d at 867, they fail to state a substantive due

process claim. Defendant’s Motion to Dismiss Plaintiffs’ substantive due process claim should

be granted.

         D.       First Amendment Overbreadth 6

         Plaintiffs also allege Defendant’s Notices of Restriction regime violates their First

Amendment rights because the Notices are overbroad. A facial First Amendment challenge to an

ordinance can be brought against regulation of “spoken words” or where a statute by its terms

regulates the time, place and manner of expressive or communicative conduct. Broadrick v.

Oklahoma, 413 U.S. 601, 612-13 (1973). If a statute or ordinance has nothing to do at all with

words or expressive conduct, however, a plaintiff cannot maintain a First Amendment claim.

Virginia v. Hicks, 539 U.S. 113, 123-24 (2003). In Hicks, for example, a political subdivision

issued a “barment notice” to an individual accused of property damage on public property that

prohibited him from returning to that property on penalty of criminal trespass. Id. at 116. The


6
  Plaintiffs appear to make a facial challenge in their Complaint, but in their response argue they “also allege as-
applied claims.” Pls.’ Resp. at 25, n. 20. In determining whether this case presents a facial or an as-applied federal
constitutional challenge, Plaintiffs’ characterization of the claim as “as-applied” is beside the point. “The label is not
what matters. The important point is that plaintiffs’ claim and the relief that would follow . . . reach . . . beyond the
particular circumstances of these plaintiffs.” John Doe No. 1 v. Reed, 561 U.S. 186, 194 (2010). Plaintiff seeks relief
that would apply broadly beyond their “particular circumstances,” so bring “facial challenges” even if they seek to
characterize them as “as-applied.”


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barred individual sued, arguing the subdivision’s exclusionary penalty was overbroad and

therefore violated his First Amendment rights. Id. at 117. The Supreme Court held that “[n]either

the basis for the barment sanction (the prior trespass) nor its purpose (preventing future

trespasses) has anything to do with the First Amendment.” Id. at 123. In Hicks, the plaintiff had

simply not brought a valid First Amendment claim at all because the statute he challenged had

nothing to do with expressive conduct. Id.

         Plaintiffs’ First Amendment claim here fits the same mold: they challenge a penalty (the

Notice of Restriction) that is imposed to sanction violation of park rules and prevent more in the

future. See Compl. ¶¶ 144-53. Plaintiffs ultimately argue the incidental effects of the Notices’

burden of their First Amendment rights, but the Supreme Court has made clear that generally

applicable laws do not offend the First Amendment simply because their enforcement has

incidental effects on First Amendment rights. Cohen v. Cowles Media Co., 501 U.S. 663, 669

(1991). Plaintiffs fail to state a First Amendment overbreadth claim because the statute they

challenge does not implicate the First Amendment in the first place. Their overbreadth claim

should be denied. 7

         E.       Statute of Limitations Arguments

         Defendant also moves to dismiss Plaintiffs’ Wade, Morrison, and Eggleston’s Section

1983 claims as time-barred. 8 “The statute of limitations for § 1983 actions parallels state



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  Furthermore, “[t]he overbreadth doctrine is a strong medicine that is used sparingly and only as a last resort.” N.Y.
State Club Ass’n, Inc. v. City of N.Y., 487 U.S. 1, 14 (1988) (quotation marks omitted). To succeed, “there must be a
realistic danger that the statute itself will significantly compromise recognized First Amendment protections of parties
not before the Court.” Members of the City Council of the City of L.A. v. Taxpayers for Vincent, 466 U.S. 789, 801
(1984). The plaintiff “bears the burden of demonstrating, from the text of [the law] and from actual fact, that substantial
overbreadth exists.” Virginia v. Hicks, 539 U.S. 113, 122 (2003) (alteration in original) (quotation omitted). “Rarely,
if ever, will an overbreadth challenge succeed against a law or regulation that is not specifically addressed to speech
or to conduct necessarily associated with speech . . . . Id. at 124. Plaintiffs fail to make such a showing.
8
  Defendant also moves to dismiss the ADA and Rehabilitation Act claims as untimely. Mot. to Dismiss at 34-36.
Because Plaintiffs do not have standing to bring these claims, the Court does not consider their timeliness here.


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personal injury tort law.” Sain v. City of Bend, 309 F.3d 1134, 1138 (9th Cir. 2002) (citing

Chardon v. Fumero Soto, 462 U.S. 650 (1983)). Typically, Oregon law has a two-year statute of

limitations period for personal injury actions. Or. Rev. Stat. § 12.110(1). But where, as here, a

plaintiff seeks only prospective equitable relief, Oregon law applies statutes of limitations only

by analogy; the effect of expiration of the period limiting an analogous suit at law is only to shift

to the plaintiff the burden of establishing that his equitable action is not barred by laches. W. Los

Angeles Inst. for Cancer Research v. Mayer, 366 F.2d 220 (9th Cir. 1966); President & Trustees

of Tualatin Acad. & Pac. Univ. v. Keene, 59 Or. 496, 519, (1911). Plaintiffs’ grounds for seeking

equitable relief accrued when they were able to show they were reasonably likely to suffer the

constitutional harms they allege. Babbitt, 442 U.S. at 298. For these Plaintiffs, that was typically

when they received their first Notices of Restriction. See, e.g., Compl. ¶s 24-28, 39-40, 97, 142.

Plaintiffs did not harmfully delay, and Defendant does not present any potential prejudice to

suggest laches should apply here. See Generally Pls.’ Resp., Def.’s Reply. For Plaintiffs’ Section

1983 claims seeking equitable relief, then, the Court should find they are not barred by the

applicable state law statute of limitations.

       F.      Article I, Section 20 of the Oregon Constitution

       Finally, Plaintiffs bring a claim under Article I, section 20, of the Oregon Constitution

which states: “No law shall be passed granting to any citizen or class of citizens privileges, or

immunities, which, upon the same terms, shall not equally belong to all citizens.” To prevail on a

claim for violation of Article I, section 20, a plaintiff must show that (1) he is a member of a

group that is a “true class,” (2) that the challenged law grants another group a privilege or

immunity that the plaintiff’s group has not been granted, (3) the differential treatment is based on

characteristics the group has that are apart from the statute, and (4) the differential treatment has




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no rational basis. State v. Goacher, 303 Or. App. 783, 788 (2020). A true class is one that exists

independently of the challenged law. Examples of true classes include classes that are based on

gender, race, ethnicity, sexual orientation, legitimacy, alienage, residency, military service, and

religious affiliation. Tanner v. Oregon Health Sciences Univ., 157 Or. App. 502, 521 (1998). A

“true class” is “not defined by any statute nor by the practices that are the subject of plaintiffs’

challenges.” Id. at 520-21. Rather, a true class is defined “in terms of characteristics that are

shared apart from the challenged law or action.” Id. at 523-24.

       Plaintiffs convincingly argue that “homeless individuals” is a “true class” under Oregon

law, but fail to state a claim because they do not identify another group that receives a privilege

or immunity withheld from homeless individuals, and admit that several of them are not

currently homeless. When bringing a class-based challenge to a statute under Article I, section

20, the plaintiff’s claim “must raise the question of whether [the plaintiff], as a member of the

class, is denied a ‘privilege’ or ‘immunity’ that is granted to members of similarly situated

classes.” Goacher, 303 Or. App. at 789. That is, the plaintiff “must show that all members of his

class are denied a privilege that people outside the class are granted.” Id.

       Here, Plaintiffs identify no such privilege or immunity. They argue that Defendant

enforces its Park Rules disproportionately against homeless individuals, but concede that the

park rules apply to housed and unhoused alike. See Compl. ¶¶ 127-37. Nor do Plaintiffs allege

that the entire class—all “homeless individuals”—is equally subject to Notices of Restriction, or

that all those with permanent housing are immune. And at a minimum, Plaintiffs concede that

Plaintiffs Gaines, Eggleston, and Castner are not currently homeless, so are not part of the class.

Pls.’ Resp. at 39. Even if the Complaint stated a claim under the Oregon Constitution, those




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Plaintiffs’ claims would fail because they do not belong to the class. The Court should therefore

grant Defendant’s motion to dismiss Plaintiffs’ Oregon constitutional claim as well.

III.   Leave to Amend

       Plaintiffs do not seek leave to amend in their response, but the Court should dismiss

without prejudice regardless. If a complaint fails to state a plausible claim, “‘a district court

should grant leave to amend even if no request to amend the pleading was made, unless it

determines that the pleading could not possibly be cured by the allegation of other facts.’” Lopez

v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (en banc) (quoting Doe v. United States, 58 F.3d

494, 497 (9th Cir. 1995)). Given the Ninth Circuit’s permissive standard and because of the

possibility that new facts have arisen since the filing of this claim that could affect Plaintiffs’

claims, the Court recommends allowing Plaintiff an opportunity to cure the deficiencies by

amendment.

                                      RECOMMENDATION

       For the reasons above, Defendant’s Motion to Dismiss (ECF No. 7) should be

GRANTED in part and DENIED in part. Plaintiff’s claims should be DISMISSED with leave to

amend. Defendant’s Motion for Judicial Notice (ECF No. 8) and Plaintiffs’ Motion for Judicial

Notice (ECF No. 14) are GRANTED.

       This recommendation is not an order that is immediately appealable to the Ninth Circuit

Court of Appeals. Any notice of appeal under Fed. R. App. P. 4(a)(1) should not be filed until

entry of the district court’s judgment or appealable order. The Findings and Recommendation

will be referred to a district judge. Objections to this Findings and Recommendation, if any, are

due fourteen (14) days from today’s date. See Fed. R. Civ. P. 72. Failure to file objections within

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the specified time may waive the right to appeal the district court’s order. Martinez v. Ylst, 951

F.2d 1153, 1157 (9th Cir. 1991).

       DATED this 16th day of August 2024.



                                                      s/ Mustafa T. Kasubhai
                                                      MUSTAFA T. KASUBHAI (He / Him)
                                                      United States Magistrate Judge




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